        Case 2:12-cv-00066-RWS Document 48 Filed 09/04/13 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION

RUSSELL PARIS CROOK and                         )
BARBARA LEE EPPERLY CROOK,                      )
                                                )
      Plaintiffs,                               )
                                                )
vs.                                             )     CIVIL ACTION FILE
                                                )     NO. 2:12-CV-66
BRANDON SCOTT FUZI, D.C. and                    )
FLCCIII, INC.                                   )
                                                )
      Defendants.                               )
                                                )

         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and with the

consent of all parties to this action, Plaintiffs Russell Paris Crook and Barbara Lee

Epperly Crook dismiss with prejudice all of their claims in this case. Furthermore,

Defendants Brandon Scott Fuzi, D.C. and FLCCIII, Inc. agree not to file counter

claims related to this action.

      Respectfully submitted this 4th day of September, 2013.



                                 (Signatures on Next Page)
       Case 2:12-cv-00066-RWS Document 48 Filed 09/04/13 Page 2 of 4




Agreed and Consented to by:



HALL BOOTH SMITH, PC

/s/ Heather Saum Ware
Heather Saum Ware
Georgia Bar No. 208206
Counsel for Defendants
191 Peachtree Street, NE
Suite 2900
Atlanta, Georgia 30303
(404) 954-5000
(404) 954-5020 (fax)


/s/ Russell Crook
Russell Crook, Pro Se
6823 East Country Highlands Drive
Floral City, FL 34436
Signed with express permission by Heather Saum Ware


/s/ Barbara Crook
Barbara Crook, Pro Se
6823 East Country Highlands Drive
Floral City, FL 34436
Signed with express permission by Heather Saum Ware




                                     2
        Case 2:12-cv-00066-RWS Document 48 Filed 09/04/13 Page 3 of 4




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

RUSSELL PARIS CROOK and                      )
BARBARA LEE EPPERLY CROOK,                   )
                                             )
      Plaintiffs,                            )
                                             )
vs.                                          )     CIVIL ACTION FILE
                                             )     NO. 2:12-CV-66
BRANDON SCOTT FUZI, D.C. and                 )
FLCCIII, INC.                                )
                                             )
      Defendants.                            )
                                             )

                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and

foregoing JOINT STIPULATION OF DISMISSAL WITH PREJUDICE upon all

parties to this matter by electronically filing with the ECF filing system, and that

service of the following individuals will be accomplished by the ECF system:

   Russell Crook and Barbara Crook                 Barbara Crook's email:
  6823 East Country Highlands Drive              crook.barbara@yahoo.com
        Floral City, FL 34436



                            (Signature on Next Page)




                                         3
       Case 2:12-cv-00066-RWS Document 48 Filed 09/04/13 Page 4 of 4




      Respectfully submitted this 4th day of September, 2013.

                                           HALL BOOTH SMITH, PC

                                           /s/ Heather Saum Ware
                                           Heather Saum Ware
                                           Georgia Bar No. 208206
                                           Counsel for Defendants
191 Peachtree Street, NE
Suite 2900
Atlanta, Georgia 30303
(404) 954-5000
(404) 954-5020 (fax)




This is to certify that this document was prepared in accordance with Court Rule
L.R. 5.1B, N.D. Ga., in the Times New Roman 14 Point.



                                       4
